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                            UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS

  CLAUDETTE THOMPSON,

                                       Plaintiff,



 UNITED STATES OF AMERICA,and
  ADVOCATE HEALTH AND HOSPITALS
 CORPORATION, A Corporation d/b/a
 ADVOCATE TRINITY HOSPITAL,

                                    Defendants.



                                     COMPLAINT ATI.AW

       Plaintiff, CLAUDETTE THOMPSON, by her attorneys, D & W LAW GROUP, P.C.,
complaining of Defendants, UNITED STATES OF AMERICA, and ADVOCATE HEALTH
AND HOSPITALS CORPORATION,A Corporation d/b/a ADVOCATE TRINITY HOSPITAL,
A Corporation, states as follows:

       1.     Plaintiff brings this complaint against the United States of America pursuant to the
Federal Tort Claims Act("FTCA")28 U.S.C. § 1346(b).
       2.     Plaintiff originally filed suit in this matter in Cook County Circuit Court on April
10,2018 against MAJORIE MICHEL, M.D. in addition to Defendant ADVOCATE. This matter
was removed to this Court and assigned case number 18 C 6980 after Defendant UNITED
STATES OF AMERICA asserted that at all times relevant Dr. Michel was an employee ofChicago
  Family Health Center, a private entity that receives grant money from the Public Health Service
  pursuant to 42 U.S.C. §233.
          3.     Defendant UNITED STATES OF AMERICA substituted in as the proper
 defendant m place of Dr. Michel and filed a motion to dismiss for Plaintiffs failure to exhaust
 administrative remedies pursuant to 28 U.S.C. §2675(a). That motion was granted, as Plaintiff
 had not yet presented the claim to the Department ofHealth and Human Services.
          4.     Plaintiff has now done so and had her claim denied. See attached Exhibit A.
 Plaintiffs position is that this filing is timely as it was equitably tolled by her initial filing in Cook
 County Circuit Court, in addition to the time required to present her claim to DHHS and receive a
response, in addition to this lawsuit being filed within six months ofhaving received that response
from the DHHS, which was dated June 11, 2019. See United States v. Wong, 135 S. Ct. 1625
(2015).
        5.      This Court has jurisdiction over this claim against the United States for money
damages pursuant to 28. U.S.C. §1346(b)(l).
        6.      The acts or omissions giving rise to the claim occurred in the Northern District of
Illinois. Venue is therefore proper under 28 U.S.C. §1402(b).
COUNT I: CLAUDETTE THOMPSON v. UNITED STATES OF AMERICA
       7. On or about April 21, 2016, Defendant, UNITED STATES OF AMERICA,by and
through their agent and employee, MAJORIE MICHEL, M.D., provided medical care to patients
at ADVOCATE TRINITY HOSPITAL located at or near 2320 E. 93"* Street, in the City of
Chicago, State of Illinois.
       8.      On or about April 21, 2016, MAJORIE MICHEL, M.D., was an actual and/or
apparent agent and employee of Defendant, UNITED STATES OF AMERICA.
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           9.     On or about April 21, 2016 MAJORIE MICHEL, M.D., had a duly to conform to
 the appropriate standard of medical care in the management and treatment of patients.
           10.    On or about April 21, 2016, Plaintiff, CLAUDETTE THOMPSON, underwent a
 total abdominal hysterectomy and lysis of adhesions performed by MAJORIE MICHEL, M.D. at
 ADVOCATE TRINITY HOSPITAL.
           11.    On or about April 21, 2016, Plaintiff, CLAUDETTE THOMPSON, sustained a
 bum on the lower right abdomen area near the point ofsurgery performed by MAJORIE MICHEL
 M.D., while undergoing the abovementioned surgery.
           12.   On or about April 21, 2016, Defendant, MAJORIE MICHEL, M.D., Individually
breached her duty to conform to the standard ofcare in one or more ofthe following ways:
                 a.      Carelessly and negligently caused the Plaintiff to suffer bums during the
                         subject surgery;
                 b.      Carelessly and negligently failed to use the proper care in positioning and/or
                         using adequate grounding pads;
                 c.      Carelessly and negligently failed to use proper cauterizing procedures while
                        providing care and treatment to Plaintiff; and
                 d.      Was otherwise careless and negligent.
          13.    As a proximate cause the above stated acts and omissions by Defendant, MAJORIE
MICHEL, M.D., Plaintiff, CLAUDETTE THOMPSON,suffered severe, painful and disfiguring
injury.
          14.    Attached hereto is an affidavit of one of Plaintiffs attorneys pursuant to 735 ILCS
Section 5/2-622.
          WHEREFORE, Plaintiff, CLAUDETTE THOMPSON, demands judgment against
Defendant, MAJORIE MICHEL, M.D., in excess of$75,000.00.
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 COUNT II; CLAUDETTE THOMPSON v. ADVOCATE HEALTH AND HOSPITALS
 CORPORATION d/b/a ADVOCATE TRINITY HOSPITAL
        15.    On or about April 21, 2016, Defendant, ADVOCATE HEALTH AND
 HOSPITALS CORPORATION dPola ADVOCATE TRINITY HOSPITAL, through its actual
and/or apparent agents, provided medical care to patients at ADVOCATE TRINITY HOSPITAL
located at or near 2320 E. 93'^ Street, in the City of Chicago, State of Illinois.
        16.    On or about April 21, 2016, Defendant, ADVOCATE HEALTH AND
HOSPITALS CORPORATION dA)/a ADVOCATE TRINITY HOSPITAL, through its actual
and/or apparent agents, had a duty to conform to the appropriate standard of medical care in the
management and treatment of patients.
        17.    On or about April 21, 2016, Plaintiff, CLAUDETTE THOMPSON, underwent a
total abdominal hysterectomy and lysis of adhesions performed by MAJORIE MICHEL, M.D.
and others at ADVOCATE TRINITY HOSPITAL.
       18.     On or about April 21, 2016, Plaintiff, CLAUDETTE THOMPSON, sustained a
bum on the lower right abdomen area near the point ofsurgery by MAJORIE MICHEL,M.D. and
others acting as actual and apparent agents of Defendant. ADVOCATE HEALTH AND
HOSPITALS CORPORATION d/b/a ADVOCATE TRINITY HOSPITAL.
       19.    On or about April 21, 2016, Defendant, ADVOCATE HEALTH AND
HOSPITALS CORPORATION d/b/a ADVOCATE TRINITY HOSPITAL, though its actual
and/or apparent agents, breached its duty to conform to the standard of care in one or more of the
following ways:
              a.      Carelessly and negligently caused the Plaintiff to suffer bums during the
                      subject surgery;
              b.      Carelessly and negligently failed to use the proper care in positioning and/or
                      using adequate grounding pads;
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                 c.       Carelessly and negligently failed to use proper cauterizing procedures while
                          providing care and treatment to Plaintiff; and
                 d.       Was otherwise careless and negligent.
         20.     As a proximate cause ofthe above acts and omissions by the actual and/or apparent
 agents of Defendant, ADVOCATE HEALTH AND HOSPITALS CORPORATION d/b/a
 ADVOCATE TRINITY HOSPITAL, Plaintiff, CLAUDETTE THOMPSON, suffered severe,
 painful and disfiguring injury.
        21.      Attached hereto is an affidavit of one ofPlaintiffs attorneys pursuant to 735 ILCS
 Section 5/2-622.
        WHEREFORE, Plaintiff, CLAUDETTE THOMPSON, demands judgment against
 Defendant, ADVOCATE HEALTH AND HOSPITALS CORPORATION dJhla. ADVOCATE
TRINITY HOSPITAL,in excess of $75,000.00.
COUNT III: RESISPA LOQUITUR - UNITED STATES OF AMERICA
        1.      On or about April 21, 2016, MAJORIE MICHEL, M.D. was a physician licensed
to practice in the state of Illinois.
        2.      On or about April 21, 2016, Defendant, MAJORIE MICHEL, M.D. was acting as
an actual and/or apparent agent of UNITED STATES OF AMERICA when she performed the
surgery on Plaintiff, CLAUDETTE THOMPSON,at ADVOCATE TRINITY HOSPITAL located
at or near 2320 E. 93"" Street, in the City of Chicago, State ofIllinois.
       3.       On or about April 21, 2016, Plaintiff, CLAUDETTE THOMPSON, underwent a
total abdominal hysterectomy and lysis of adhesions at ADVOCATE TRINITY HOSPITAL.
       4.       At the time ofsurgery, Plaintiff, CLAUDETTE THOMPSON,was caused to suffer
severe bums in the lower abdominal area at or near the point ofsurgery.
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         5.      The bums suffered by Plaintiff, CLAUDETTE THOMPSON, during the above-
 stated surgeiy are injuries that would not normally occur in the ordinary course of events, absent
 negligence.
        6. MAJORIE MICHEL, M.D., was in control ofthe instruments and/or management
 of the Plaintiff, CLAUDETTE THOMPSON, when the subject burns were caused during the
 surgery.
         7.     Plaintiff, CLAUDETTE THOMPSON did not undertake any actions that caused or
 contributed to the severe bums she suffered.
        8.      As a proximate cause of the actions of MAJORIE MICHEL, M.D., the Plaintiff,
 CLAUDETTE THOMPSON, has suffered severe, painful and disfiguring injury.
        9.      Attached hereto is an affidavit of one ofPlaintiff s attorneys pursuant to 735 ILCS
 Section 5/2-622.
        WHEREFORE, Plaintiff, CLAUDETTE THOMPSON, demands judgment against
Defendant, UNITED STATES OF AMERICA in excess of $75,000.00.
COUNT IV: RES ISPA LOQUITUR - ADVOCATE HEALTH AND HOSPITALS
CORPORATION d/b/a ADVOCATE TRINITY HOSPITAL                                          HOSPIIALS
                I.      On or about April 21, 2016, Defendant, ADVOCATE HEALTH AND
HOSPITALS CORPORATION d/b/a ADVOCATE TRINITY HOSPITAL, through its actual
and/or apparent agents, provided medical care to patients at ADVOCATE TRINITY HOSPITAL
located at or near 2320 E. 93^-^ Street, in the City of Chicago, State ofIllinois.
       2.      On or about April 21, 2016, Defendant, ADVOCATE HEALTH AND
HOSPITALS CORPORATION d^/a ADVOCATE TRINITY HOSPITAL, through its actual
and/or apparent agents, had a duty to conform to the appropriate standard of medical care in the
management and treatment of patients.
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         3.     On or about April 21, 2016, Plaintiff, CLAUDETTE THOMPSON, underwent a
 total abdominal hysterectomy and lysis of adhesions perfonned by MAJORIE MICHEL, M D
 and others at ADVOCATE TRINITY HOSPITAL.
        4.      At the time ofsurgeiy, Plaintiff, CLAUDETTE THOMPSON,was caused to suffer
 severe bums in the lower abdominal area at or near the point ofsurgery.
        5.      The bums suffered by Plaintiff, CLAUDETTE THOMPSON, during the above-
 stated surgery are injuries that would not normally occur in the ordinary course of events, absent
 negligence.
        6.      Defendant, ADVOCATE HEALTH AND HOSPITALS CORPORATION dAy/^
ADVOCATE TRINITY HOSPITAL, through its actual or apparent agents, was in control of the
instruments and/or management of the Plaintiff, CLAUDETTE THOMPSON, when the subject
bums were caused during the surgery.
        7.     Plaintiff, CLAUDETTE THOMPSON did not undertake any actions that caused or
contributed to the severe bums she suffered.
       8.      As a proximate cause of the actions of Defendant, ADVOCATE HEALTH AND
HOSPITALS CORPORATION d^/a ADVOCATE TRINITY HOSPITAL, through its actual or
apparent agents, the Plaintiff, CLAUDETTE THOMPSON, has suffered severe, painful and
disfiguring injury.
       9.      Attached hereto is an affidavit of one of Plaintiffs attomeys pursuant to 735 ILCS
Section 5/2-622.
       WHEREFORE, Plaintiff, CLAUDETTE THOMPSON, demands judgment against
Defendant, ADVOCATE HEALTH AND HOSPITALS CORPORATION d/b/a ADVOCATE
TRINITY HOSPITAL,in excess of$75,000.00.
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                                             Respectfully submitted,
                                             Plaintiff, CLAUDETTE THOMPSON,



                                             SCOTT'S. WOLFMAN,
                                             One of Plaintiffs Attorneys



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                                       Certificate of Merit

       I am a physician licensed to practice in internal medicine. I have practiced and taught in
      the area of internal medicine for greater than six years.

       I have reviewed the medical records for Claudette Thompson and it is my opinion that Dr.
       Marjorie Michel and agents of Advocate Health and Hospitals Corporation deviated from
       the standard of care in their treatment of Claudette Thompson.

       On April 21, 2016, Ms. Thompson was treated with a surgical procedure at Trinity
       Hospital. She was scheduled for a total abdominal hysterectomy and lysis of adhesions.
       During the procedure, it appears as though Ms. Thompson suffered a bum on her lower
       right abdomen,near the point ofsurgery. There is no definitive explanation in the operative
       report, but this event should have not occurred. Either there were issues with the
       equipment, issues with positioning or surgical error. All three of these would constitute
       deviations from the standard of care as this surgical outcome cannot occur in the absence
       of negligence. As there is no explanation in the chart, I will need statements of the
       healthcare providers to identify what specifically happened in this case, but the fact that
       Ms. Thompson suffered a surgical bum during the procedure is, in itself, a deviation from
       the standard of care as it should not happen, absent a negligent act.

       Therefore, it is my opinion that a meritorious case exists.




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